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 5                                UNITED STATES DISTRICT COURT
 6                               EASTERN DISTRICT OF CALIFORNIA
 7
 8   IN RE HEALTH EMERGENCY,                         Case No: 14-MC-00003 LJO
 9                                                   EMERGENCY ORDER AFFECTING THE
10                                                   TRANSPORTATION OF FRESNO COUNTY
                                                     JAIL      FEDERAL       INMATES;
11                                                   CONTINUANCE OF ALL AFFECTED
                                                     CRIMINAL HEARINGS
12
13   ______________________________/

14                   This Court issues a sua sponte order on an emergency basis due to a validated

15   health concern.    This Court has been informed that large portions of the Fresno County Jail

16   have been medically quarantined due to the diagnosis of numerous inmates suffering from

17   H1N1 influenza. This Court has consulted with the in-charge physician at the County Jail

18   (Division of Correctional Health), the Captain in charge of the County Jail, the Presiding Judge

19   of the Fresno Superior Court, and an Assistant United States Marshal, and further has reviewed

20   medical statistical documents dealing with the inmates affected and infected. Furthermore, the

21   Court has verified that one of the Federal inmates who appeared in the United States District

22   Court last week for sentencing has now been diagnosed with the H1N1 flu, quarantined, and

23   isolated. This information comes on the heels of the death yesterday of an inmate who had

24   been infected with the flu virus at the jail.

25                   Of particular significance is the medical information that a person who has the

26   virus is contagious for twenty-four (24) hours before they are symptomatic, and precluding

27   exposure of the inmate population to others outside of the jail is the very safest thing to do

28   from a proactive and preventative standpoint.

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 1          In order to assure the health and safety of the Federal Judiciary, the Court staff
 2   (including court clerks, interpreters, court reporters, and Court attorneys), members of Pretrial
 3   Services, members of the Federal Probation Department, United States Marshals, members of
 4   the United States Attorney’s Office, members of the Federal Defender’s Office, private counsel
 5   and members of the public who have business with, or visit the courtrooms, this Court finds
 6   GOOD CAUSE and HEREBY ORDERS:
 7          That for seven calendar days (the incubation period for H1N1) from the date of this
 8   order until 5 p.m., no Federal inmate housed at the Fresno County Jail is to be transported to
 9   the United States District Courthouse. By that time, this Court will have additional medical
10   information to make further decisions on this subject matter that will lead either to the
11   extension of this order, or the expiration of it. Each and every affected matter currently
12   scheduled, or in the ordinary course, would have been scheduled during this seven day period,
13   is continued until any member of the Federal Judiciary issues a subsequent order, giving due

14   notice to counsel (or the Defendant, if in propria persona) of the day, time and location of the

15   next court hearing. Until such order is issued, and inmates are transported for the hearing on

16   their respective cases, time is excluded, including but not limited to the Speedy Trial Act (18

17   United States Code, section 3161 et. seq.).

18   IT IS SO ORDERED.

19      Dated:     January 14, 2014                         /s/ Lawrence J. O’Neill
20                                                       UNITED STATES DISTRICT JUDGE

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